      Case 2:05-cr-00061-RDP-TMP Document 580 Filed 03/24/06 Page 1 of 3                                FILED
                                                                                               2006 Mar-24 PM 12:50
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION



UNITED STATES OF AMERICA


VS.                                                                  CR 05-PT-61-S

JEWELL C. “CHRIS” McNAIR
GRADY R. “ROLAND” PUGH
JOSEPH E. “EDDIE” YESSICK
ROLAND PUGH CONSTRUCTION, INC.
BOBBY J. RAST
DANIEL B. “DANNY” RAST,
RAST CONSTRUCTION, INC.
FLOYD W. “PAT” DOUGHERTY
F. W. DOUGHERTY ENGINEERING
& ASSOCIATES, INC.

               Defendants

                                 MEMORANDUM OPINION
                                        AND
                                       ORDER

       This cause comes on to be heard on Supplemental Objection of Defendants Bobby J. Rast

and Danny B. Rast and Rast Construction, Inc., to Government’s Notice(s) of Intent to Use

Evidence of “Other Crimes, Wrongs, or Acts Pursuant to Rule 404(b) (Doc. # 567) and Amended

Supplemental Objection of Defendants Bobby J. Rast and Danny B. Rast and Rast Construction,

Inc., to Government’s Notice(s) of Intent to Use Evidence of “Other Crimes, Wrongs, or Acts

Pursuant to Rule 404(b) (Doc. #568) filed on March 16, 2006.

       The court starts with the statement of the Rast defendants that, “Defendants contend that

any gifts made or services rendered were done out of friendship with no intent to influence or

reward.” Thus, the issue of intent is directly at issue. While the jury might conceivably find that
        Case 2:05-cr-00061-RDP-TMP Document 580 Filed 03/24/06 Page 2 of 3




the defendant felt such a strong sense of friendship with McNair that they would give him

substantial gifts or make him substantial loans, the fact that they gave alleged “gifts” or made

“loans” to others involved with the same or similar projects would certainly be relevant to the

issues of “motive” and “intent.” It could also bear on “plan.” The argument that the evidence is

intertwined may also be a reasonable one, particularly if the contracts overlap. If the projects are

the same or similar, they may well be part of the same “series of transactions.” Widespread

munificence with regard to the same or similar projects could raise a reasonable question as to

the true intent.

         The defendants have referred to the weakness of the Government’s case. There are

Eleventh Circuit cases which hold that the weakness of the Government case has a bearing on the

admissibility of 404(b) evidence.

         The defendants note that Magistrate Judge Putnam has stated in his Report and

Recommendation dated February 17, 2006, “There are scores, if not hundreds, of ways that a

county official can favor a contractor ranging from outright awarding of contracts to more subtle

favors .... .” This would suggest overlapping of intent and motive and plan.

         The court concludes that such evidence would have probative value that is not

substantially outweighed by its undue prejudice. Again, what might arguably be a “gift” to one

person becomes less likely a gift if the “gifts” are widespread to others involved with the same or

similar projects. It could reasonably be considered evidence of a common scheme.1 The

evidence could be relevant to the conspiracy and substantive offenses charged in this segment of

the case even if also relevant to a separate conspiracy not charged, as such, in this segment of the

case.

         1
             The court notes that § 666 itself refers to a “business” and also to a “series of transactions.”
       Case 2:05-cr-00061-RDP-TMP Document 580 Filed 03/24/06 Page 3 of 3




         This case is distinguishable from the cases of Mills, Marshall, Utter, etc. where the events

and circumstances were clearly separate and not so clearly related to intent, motive, etc. The

court will make clear that such instances are not charged as separate offenses in the indictment.

The motion is DENIED as to the evidence related to the above-named moving defendants as to

the alleged offenses relating to those defendants.2

         DONE and ORDERED this the 24th day of March, 2006.




                                                        ROBERT B. PROPST
                                              SENIOR UNITED STATES DISTRICT JUDGE




         2
             The court has applied its discretion. The Government may wish to reconsider because the decision may
not, of course, be final after review. This opinion will be referred to and adopted with respect to other defendants.
